
644 S.E.2d 233 (2007)
SEA RANCH OWNERS ASSOCIATION, INC.
v.
SEA RANCH II, INC.
No. 338P06.
Supreme Court of North Carolina.
March 8, 2007.
K. Edward Greene, Raleigh, Alyssa M. Chen, William S. Hoyle, Rocky Mount, for Sea Ranch Owners Asso.
*234 Steven C. Frucci, Virginia Beach, VA, Bradford J. Lingg, for Sea Ranch II, Inc.

ORDER
Upon consideration of the petition filed by Plaintiff on the 21st day of June 2006 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
Upon consideration of the petition filed on the 12th day of December 2006 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
Justices MARTIN and HUDSON recused.
